Case 1:20-cr-20129-DMM Document 25 Entered on FLSD Docket 09/29/2020 Page 1 of 3




                               THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 20-cr-20129-DMM


  UNITED STATES OF AMERICA,

                  Plaintiff,

  v.



  HECTOR ALEJANDRO CABRERA FUENTES,

              Defendant.
  ______________________________________/

         UNOPPOSED MOTION TO CONTINUE TRIAL SETTING AND RELATED
                               DEADLINES

          The Defendant moves to continue the presently scheduled trial and related deadlines, and

  hereby state as follows:

          1.      On February 28, 2020, a grand jury sitting in the Southern District of Florida

  returned an Indictment charging Hector Alejandro Cabrera Fuentes with acting as an agent of a

  foreign government within the United States, without prior notification to the Attorney General,

  as required by law, in violation of Title 18, United States Code, Section 951 [D.E. 10].

          2.      This matter is currently set for trial on October 26, 2020, with a deadline of

  September 30, 2020 for timely acceptance of responsibility [D.E. 24].

          3.      On August 11, 2020, Chief United States District Judge K. Michael Moore issued

  his Sixth Administrative Order Concerning July Trials and Other Proceedings 2020-53 which

  continued all jury trials in this jurisdiction until January 4, 2021.
Case 1:20-cr-20129-DMM Document 25 Entered on FLSD Docket 09/29/2020 Page 2 of 3




            4.     For the last several months, undersigned counsel has also been working with the

  government to complete the security-clearance process which, when finalized, would allow the

  defense to receive the remaining discovery in this case. Counsel believes this process is nearly

  completed, with clearance expected to be given within the next 60 days. Once discovery is

  received, counsel would expect to need at least 30 days to review and then need consult with his

  client.

            5.     Because of the ongoing Coronavirus pandemic, counsel has not been able to meet

  and confer with his client face-to-face, further complicating the preparation process in this matter.

            6.     In order to effectively prepare for this matter, counsel requests that the Court

  exclude an additional 90 days from the Speedy Trial clock and reschedule the Trial and all related

  deadlines accordingly.

            7.     Dr. Cabrera- Fuentes consents to the filing of this motion as well as the request to

  exclude time.

            8.     AUSA Michael Thakur does not oppose the relief requested in this motion.

            WHEREFORE, the Defendant requests that the current trial and deadlines in this matter be

  reset ninety days.

  Dated this 29th day of September 2020.

                                                         s/ Ronald Gainor
                                                         Ronald Gainor, Esq.
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                                                         Hector Alejandro Cabrera Fuentes
Case 1:20-cr-20129-DMM Document 25 Entered on FLSD Docket 09/29/2020 Page 3 of 3




                                CERTIFICATE OF SERVICE

         I hereby certify that on this 29th day of September 2020, I electronically filed the
  foregoing Motion with the Clerk of Court using the CM/ECF system, which will send notification
  of such filing to all interested parties.

                                                    s/ Ronald Gainor
